Case 3:11-cr-03046-LTS-KEM   Document 208   Filed 08/22/12   Page 1 of 6
Case 3:11-cr-03046-LTS-KEM   Document 208   Filed 08/22/12   Page 2 of 6
Case 3:11-cr-03046-LTS-KEM   Document 208   Filed 08/22/12   Page 3 of 6
Case 3:11-cr-03046-LTS-KEM   Document 208   Filed 08/22/12   Page 4 of 6
Case 3:11-cr-03046-LTS-KEM   Document 208   Filed 08/22/12   Page 5 of 6
Case 3:11-cr-03046-LTS-KEM   Document 208   Filed 08/22/12   Page 6 of 6
